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                     UNITED STATES BANKRUPTCY COURT FOR THE
                           NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 IN RE:                                             *              Chapter 11
                                                    *
                                                    *              Case No. 19-34054sgj11
 HIGHLAND CAPITAL MANAGEMENT, L.P.                  *
                                                    *
                Debtor                              *


             SUPPLEMENTAL OBJECTION TO FIFTH AMENDED PLAN OF
           REORGANIZATION OF HIGHLAND CAPITAL MANAGEMENT, L.P.
                              (AS MODIFIED)


 TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

          This Supplemental Objection is filed to the Fifth Amended Plan of Reorganization of

 Highland Capital Management, L.P. (as Modified) [Dkt. #1808] (the “Fifth Amended Plan as

 Modified” or “Plan”) submitted by Highland Capital Management, L.P. (“Debtor”). Although

 the deadline to object to the Fifth Amended Plan of Reorganization of Highland Capital

 Management, L.P. (“Fifth Amended Plan”) [Dkt. 1472] has expired, two developments have

 occurred which warranted the filing of this Supplemental Objection.        Since The Dugaboy

 Investment Trust and Get Good Trust (jointly, “Objectors”) filed their Objection to Confirmation



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 of the Debtor’s Fifth Amended Plan of Reorganization [Dkt. #1667], the Debtor, on January 22,

 2021, modified its Fifth Amended Plan. Attached to the filing on January 22, 2021 were some

 Plan Supplements and other documentation in support of the Debtor’s Fifth Amended Plan.

 While the Fifth Amended Plan as Modified changed certain terms and concepts that were in the

 Fifth Amended Plan, it was the filing of the Certification of Patrick M. Leathem with Respect to

 the Tabulation of Votes on the Fifth Amended Plan of Reorganization of Highland Capital

 Management, L.P. on January 19, 2021 [Dkt. #1772] and the presentation of a new schedule

 depicting what creditors would receive under the Fifth Amended Plan as Modified versus that

 which a creditor would receive if a Chapter 7 Trustee had been appointed that has prompted this

 Supplemental Objection. In fact, the Debtor has merely provided to counsel and other objectors

 a summary of the elements that make up the recovery projected for creditors under the Fifth

 Amended Plan as Modified and under a Chapter 7. The model with a listing by item (such as

 projected Trustee fees, U.S. Trustee fees that will be owed under the Debtor’s Fifth Amended

 Plan as Modified, and a listing of the Debtor’s assets and projected recovery for each asset) has

 been withheld from the Objectors and the other objecting creditors. The summary document that

 was provided shows the following:

        a) An increase in the operating costs from a projected $18,468,000.00 (Dkt. #1473, pg.

 174) to a now projected cost of $38,849,000.00. A cost increase of over 100%;

        b) The projected recovery to Class 8 creditors has reduced from a recovery in November

 of 85.31% to a January projected recovery of 62.14%;

        c) An increase in the total number of Class 8 claims from a projected $176,049.00 (Dkt.

 #1473, pg. 174) to a new claims pool of $313,588.00;




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        d) An increase in professional fees from $22,313,000.00 (Dkt. #1473, pg. 177) to

 $27,455,000.00; and

        e) A decision by the Debtor to manage the CLOs and retain an employee staff of ten

 (10), as opposed to a projected employee staff of three (3) in November - triple the number of

 employees that were projected in November.

        In addition, it is now known that Class 8 has rejected the Fifth Amended Plan and the

 Court must make an independent analysis that all the elements of 11 U.S.C. § 1129(a) have been

 satisfied in order to confirm the Plan. This analysis must take place whether or not any creditor

 objects to the Fifth Amended Plan. Class 8 has rejected the Fifth Amended Plan, meaning that

 the Absolute Priority Rule prevents confirmation as equity retains some property under the Plan

 and the Debtor has made no showing that it has marketed the assets of the Debtor to determine if

 a higher and better offer exists which would result in a greater payment to the Class 8 creditors.

 As the Court is aware, a competing Plan has been filed under seal. In light of the material

 reduction in projected returns to unsecured creditors, the significant increase in operating costs

 and the other developments since the Disclosure Statement has been approved, creditors should

 be apprised of these developments, especially because it is virtually certain that, under the

 Debtor’s Plan, there will be years of litigation in multiple adversary proceedings, appeals, and

 collection activities—all adding substantial additional uncertainty and delay.

 A.     THE PLAN MUST BE RESOLICITED

        1.      The approved Disclosure Statement for the Fifth Amended Plan of Reorganization

 of Highland Capital Management, L.P. (“Disclosure Statement”) [Dkt. #1473] contained a

 projected recovery to Class 8 unsecured creditors of 85.31%. The Disclosure Statement did not

 contain a range, but, rather, a specific percentage recovery. On January 28, 2021, the Debtor



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 disclosed that this estimate is no longer accurate, and it revised this estimate to 62.14%. This is a

 material change that renders the approved Disclosure Statement is no longer accurate and, in

 fact, materially misleading, even if through no fault of the Debtor or anyone else.

        2.      The Court may confirm the Fifth Amended Plan only if the Fifth Amended Plan

 and its proponents comply with all the requirements of the Bankruptcy Code. See 11 U.S.C. §

 1129(a)(1) & (2).     Here, the Bankruptcy Code has not been complied with because the

 Disclosure Statement, on which creditors based their votes for the Plan, is no longer accurate and

 is, in fact, misleading, even if it once was accurate. The importance of a disclosure statement

 cannot be understated, as that is the principal document upon which creditors make their decision

 whether to vote for or against a plan. However, the disclosure statement is not fixed for all time,

 and changes between its approval and the confirmation hearing may mandate a re-solicitation:

        When the adequacy of information is initially determined during the
        presolicitation phase, the court is acting in a context in which information may be
        sketchy and preliminary.         The court does not conduct an independent
        investigation and relies upon its reading of the document for apparent
        completeness and intelligibility. Later, at confirmation, what once appeared to be
        adequate information may have become plainly so inadequate and misleading as
        to cast doubt on the viability of the acceptance of the plan and to necessitate
        starting over.

 In re Brotby, 303 B.R. 177, 194 (B.A.P. 9th Cir. 2003) (emphasis added) (internal quotations

 omitted). As explained by one court:

        Nor does the scrutiny of the accuracy of the disclosure statement end with the
        presolicitation hearing on the question of whether the disclosure statement
        contains adequate information. The accuracy of disclosure is an issue that must
        be addressed at the confirmation hearing where it must be demonstrated by a
        preponderance of the evidence that the proponent of the plan complied with the
        applicable provisions of title 11.

 In re Michelson, 141 B.R. 715, 719 (Bankr. E.D. Cal. 1992) (emphasis added). Accord, In re

 Rosenblum, 2019 Bankr. LEXIS 2298 at *6 (Bankr. D. Nev. 2019) (“[e]ven if a disclosure



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 statement previously has been approved, the adequacy of disclosure may be revisited at plan

 confirmation”); In re Renegade Holdings Inc., 2010 Bankr. LEXIS 2252 at *7 (Bankr. M.D.N.C.

 2010) (“[n]otwithstanding the earlier approval of a plan proponent’s disclosure statement, the

 requirement of section 1129(a)(2) regarding compliance with section 1125 is that the court

 reassess at the confirmation hearing whether the disclosure contemplated by section 1125 has

 been provided”). Indeed, in In re Michelson, the court went so far as to revoke an order of

 confirmation based on a materially defective disclosure statement which failed to disclose critical

 facts.

          3.    A disclosure statement must include information of a kind “that would enable

 such a hypothetical investor of the relevant class to make an informed judgment about the plan.”

 11 U.S.C. § 1125(a)(1). Perhaps the most important consideration in this analysis is the plan’s

 projected return to creditors. Here, the Debtor has now disclosed that its original estimate of an

 85% recovery has been reduced to a 62% recovery. While the Objectors are not alleging that this

 difference is the result of any fault on the part of the Debtor, and, in fact, appears to be simply

 the result of developments after the approval of that Plan’s disclosure statement, the original

 projection is now materially misleading.      A difference in recovery from 85% to 62% is

 something that is very material. While it is true that the Disclosure Statement contained various

 provisions cautioning voting creditors that the projected recovery was an estimate only and was

 subject to change, the fact remains that voting unsecured creditors were solicited, and likely

 formed their views on the Plan, based on information that is no longer accurate. At a minimum,

 these creditors should be informed of the recent developments, in order to consider other

 potential alternatives and in order to reconsider whether to vote for the Plan. In sum, creditors

 should have the most up-to-date and reliable information when weighing their plan options



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 regardless of any cautionary provision in the original disclosure statement that projections were

 subject to change. The significant change in operating costs places increased risks on the

 Debtor’s meeting its revenue projections and warrants all creditors in each class reevaluating

 whether they want to accept the Plan or support a Plan that brings in more cash up front, reduces

 the market risk for the sale of the Debtor’s assets and reduces the professional fees and costs.

         4.     Accordingly, the Plan cannot be confirmed as is and the Plan should be resolicited

 with an updated disclosure statement or supplement that: (i) describes the material changes in the

 Bankruptcy Case since the Disclosure Statement was approved, including the settlement and

 allowance of large claims; and (ii) discloses the Debtor’s new projection of recoveries under its

 Plan.

 B.      PLAN UNFAIRLY DISCRIMINATES AGAINST CLASS 8

         5.     The revision to the estimated recovery for Class 8 also means that the Plan cannot

 be confirmed under principles of unfair discrimination. The Plan provides for a class (Class 7)

 of convenience unsecured creditors of $1 million—a very large threshold—which are paid 85%

 of their allowed claims. However, Class 8 has rejected the Plan, meaning that it must proceed on

 cramdown. Among other things, this requires that the Plan not “discriminate unfairly” with

 respect to the dissenting class. See 11 U.S.C. § 1129(b)(1). While originally, when the Plan

 estimated a recovery of 85% to Class 7, there was no unfair discrimination between Class 7 and

 Class 8, now that Class 8 will receive an estimated 62% while Class 7 receives 23% more,

 without any justification, --is per se unfair discrimination, for the Debtor to reasonably claim that

 Class 7 is truly a “convenience” class when the threshold is $1 million. See, e.g., In re Dow

 Corning Corp., 244 B.R. 696, 702 (Bankr. E.D. Mich. 1999) (imposing rebuttable presumption

 of unfair discrimination where one class is paid “a materially lower percentage recovery”); In re



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 Creekside Landing Ltd., 140 B.R. 713, 716 (Bankr. M.D. Tenn. 1992). With the new projections

 the plan on its face unfairly discriminates

 C.      THE PLAN CANNOT BE CONFIRMED UNDER THE ABSOLUTE PRIORITY RULE

         6.      Under the Plan, holders of limited partnership interests in the Debtor are provided

 with “Pro Rata share[s] of the Contingent Claimant Trust Interests.” Plan at pp. 23-24. These

 interests are contingent interests in the Claimant Trust:

         the rights of which shall not vest, and consequently convert to Claimant Trust
         Interests, unless and until the Claimant Trustee Files a certification that all holders
         of Allowed General Unsecured Claims have been paid indefeasibly in full, plus,
         to the extent all Allowed unsecured Claims, excluding Subordinated Claims, have
         been paid in full, all accrued and unpaid post-petition interest from the Petition
         Date at the Federal Judgment Rate and all Disputed Claims in Class 8 and Class 9
         have been resolved.

 Plan at p. 7.

         7.      The Claimant Trust Agreement defines “Claimant Trust Beneficiaries” as

 including the “Holders of Allowed Class B/C Limited Partnership Interests, and Holders of

 Allowed Class A Limited Partnership Interests,” but “only upon certification by the Claimant

 Trustee that the Holders of such Claims have been paid indefeasibly in full plus, to the extent

 applicable, post-petition interest at the federal judgment rate.” See Docket No. 1811-2 at Exhibit

 “R” at p. 3. Holders of these limited partnership interests are issued “Contingent Interests” that

 vest only after that certification is filed. See id. at p. 26. After such certification, the proceeds of

 the monetization of the Creditor Trust Assets would flow to the holders of these limited

 partnership interests.” See id. at p. 8.

         8.      Class 8, consisting of General Unsecured Claims, has not accepted the Plan. This

 brings into application the Absolute Priority Rule, which provides that, if a class of creditors has

 rejected the Plan, the Plan can only be confirmed if “the holder of any claim or interest that is



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 junior to the claims of such class will not receive or retain under the plan on account of such

 junior claim or interest any property.”       11 U.S.C. § 1129(b)(2)((B)(ii).       Simply put, the

 Contingent Claimant Trust Interests the Plan provides to holders of limited partnership interests

 in the Debtor is “property” such that the Plan cannot be confirmed because Class 8 has rejected

 the Plan and a junior class of interests is retaining or receiving under the Plan “property.”

        9.      The Supreme Court, in considering the Absolute Priority Value and an argument

 that the retained interests had no value such that the Rule is not implicated, disagreed and held as

 follows:

        Respondents further argue that the absolute priority rule has no application in this
        case, where the property which the junior interest holders wish to retain has no
        value to the senior unsecured creditors. In such a case, respondents argue, the
        creditors are deprived of nothing if such a so-called interest continues in the
        possession of the reorganized debtor. Here, respondents contend, because the
        farm has no "going concern" value (apart from their own labor on it), any equity
        interest they retain in a reorganization of the farm is worthless and therefore is not
        "property" under 11 U. S. C. § 1129(b)(2)(B)(ii).

        We join with the overwhelming consensus of authority which has rejected this ‘no
        value’ theory. . . Whether the value is present or prospective, for dividends or
        only for purposes of control a retained equity interest is a property interest. . .
        And while the Code itself does not define what ‘property’ means as the term is
        used in § 1129(b), the relevant legislative history suggests that Congress’ meaning
        was quite broad. Property includes both tangible and intangible property.

 Norwest Bank Worthington v. Ahlers, 485 U.S. 197, 207-08 (1988) (internal quotations and

 citations omitted).

        10.     It therefore does not matter that the trust interests being provided to limited

 partners under the Plan are contingent, or deeply subordinated, or unvested, or potentially

 worthless—they constituted some property under the Absolute Priority Rule: “the relevant

 legislative history suggests that Congress’ meaning [of property] was quite broad. Property

 includes both tangible and intangible property.” Id. Even if not vested, that the interests would



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 vest upon the satisfaction of a condition precedent is itself property. “The question should not be

 whether a future interest is vested or contingent. Clearly a contingent future interest is a legally

 cognizable interest, and thus property of the estate.” In re Edmonds, 273 B.R. 527, 529 (Bankr.

 E.D. Mich. 2000). If a contingent, non-vested interest is property for purposes of section 541(a)

 of the Bankruptcy Code, such that it can be administered, sold, transferred, or monetized as

 property under a bankruptcy plan, then section 1129(b)’s use of the word “property” must also

 include a contingent, non-vested interest.

        11.     The Objectors are aware of an opinion that disagrees with the above logic. See In

 re Introgen Therapeutics, 429 B.R. 570 (Bankr. W.D. Tex. 2010). That opinion held that a

 contingent interest in a liquidating trust, whereby equity would not receive any distribution

 unless and until all creditors were paid in full, was not “property” for purposes of the Absolute

 Priority Rule. Id. at 585. That opinion reasoned as follows:

        The right to receive something imaginary is not property. The only way Class 4
        will receive anything is if Class 3 in fact gets paid in full, in satisfaction of §
        1129(b)(2)(B)(i), meaning the absolute priority rule would not be an issue. If
        Class 3 is not paid in full, Class 4’s ‘property interest’ is not just valueless, as
        Creditors argue, it simply does not exist.

 Id.

        12.     The Objectors submit that this opinion is not decided correctly and should not be

 followed by this Court. Introgen Therapeutics made a fundamental mistake of logic because it

 determined that something that has no value is not property. This directly conflicts with Norwest

 Bank Worthington, which commanded that whether something has value or not does not

 determine whether it is “property” under the Absolute Priority Rule. 485 U.S. at 207-08. Even

 if the value is prospective only, it is still “property.” Second, the opinion ignores the language of

 the statute, which prohibits the junior class from receiving or retaining “any property.” It cannot



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  be doubted that a contingent, non-vested interest in a trust is some “property.” It may have no

  value or other benefits, and it may never have a value or any other benefits, but there is a

  condition precedent which, if triggered, converts it to something of value, benefit, and present

  interest. Whatever it is that is converted into the “property” is itself “property.”

          13.    The opinion also fails to take into account the Supreme Court’s opinion and logic

  in Bank of Am. Nat’l Trust & Sav. Ass’n v. 203 N. Lasalle P’ship, 526 U.S. 434 (1999). That

  well know opinion considered whether the Absolute Priority Rule was triggered under a plan

  where equity was retained. While it may be obvious that equity is “property” and that the

  retention of equity therefore violated the Rule, the Supreme Court’s reasoning was different.

  Rather, the Supreme Court equated the exclusive opportunity to bid on new equity under a plan

  as itself “property” that was being granted or retained in violation of the Rule: “[t]his opportunity

  should, first of all, be treated as an item of property in its own right.” Id. at 455. The Supreme

  Court reasoned as follows:

          While it may be argued that the opportunity has no market value, being significant
          only to old equity holders owing to their potential tax liability, such an argument
          avails the Debtor nothing, for several reasons. It is to avoid just such arguments
          that the law is settled that any otherwise cognizable property interest must be
          treated as sufficiently valuable to be recognized under the Bankruptcy Code.
          Even aside from that rule, the assumption that no one but the Debtor’s partners
          might pay for such an opportunity would obviously support no inference that it is
          valueless, let alone that it should not be treated as property. And, finally, the
          source in the tax law of the opportunity’s value to the partners implies in no way
          that it lacks value to others.

  Id. at 455.

          14.    If an exclusive “opportunity” is “property” for purposes of the Absolute Priority

  Rule, then the “opportunity” to perhaps share in a future recovery, however remote, is also

  “property.” Even a contingent, non-vested interest is “otherwise cognizable property,” since the

  law recognizes such interests and even brings them into an estate as property of the estate. And

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  the assumption that no one may pay anything for the interest does not support a conclusion that it

  should not be treated as property. Indeed, it is likely that someone would pay something for that

  interest, including the Objectors, were it offered to them, both for economic and strategic

  reasons. In fact, the Debtor in its 30(b) deposition taken on Friday January 29, 2021 recognized

  that a possibility existed for equity to receive a distribution under the Plan if the Litigation Trust

  was successful in its pursuit of claims.

                                              Conclusion

         Based upon the foregoing and the reasons set forth in the previously filed Objections to

  the Debtor’s Plan, the Court should deny confirmation.

  February 1, 2021

                                                 Respectfully submitted,


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                                   CERTIFICATE OF SERVICE
         I do hereby certify that on the 1st day of February, 2021, a copy of the above and
  foregoing Supplemental Objection To Fifth Amended Plan Of Reorganization Of Highland
  Capital Management, L.P. (As Modified) has been served electronically to all parties entitled to
  receive electronic notice in this matter through the Court’s ECF system as follows:

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